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 Benjamin Barr*
 Barr & Klein PLLC
 444 N. Michigan Ave. #1200
 Chicago, Illinois 60611
 Telephone: (202) 595-4671
 ben@barrklein.com

 *Pro hac vice

 Attorney for Plaintiffs Are You Listening Yet PAC and Tracie Halvorsen

                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH
 ARE YOU LISTENING YET PAC, and
 TRACIE HALVORSEN,
                                                    NOTICE OF ACKNOWLEDGMENT
                        Plaintiffs,

 v.                                                 Case No. 2:24-CV-00104-JNP-CMR

 DEIDRE HENDERSON, Lieutenant                             Judge Jill N. Parrish
 Governor of the State of Utah, in her official           Magistrate Judge Cecilia M. Romero
 capacity,

                        Defendant.


       I, Benjamin Barr, hereby acknowledge that I have read the Standing Order filed February

21, 2024, by the Court in the above-captioned matter. Dkt. 18. I have carefully read and understand

the terms thereof and will comply with the order.

                                                     Respectfully submitted,

                                                     /s/ Benjamin Barr
                                                     Benjamin Barr*
                                                     Barr & Klein PLLC
                                                     444 N. Michigan Ave. #1200
                                                     Chicago, Illinois 60611
                                                     Telephone: (202) 595-4671
                                                     ben@barrklein.com

                                                     *Pro hac vice
                                                     Attorney for Plaintiffs
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                                       Certificate of Service

         I, Benjamin Barr, hereby certify that on this 23rd day of February, 2024, the foregoing

document was electronically filed with the Clerk of Court using the CM/ECF system and will be

sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF).

                                                       /s/ Benjamin Barr
                                                       Benjamin Barr
